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, IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND |

UNITED STATES OF AMERICA, *

v. * CRIMINAL NO, JKB-21-0458 .
ELIAS NICK COSTIANES, JR., *.

Defendants. *

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AMENDED SCHEDULING ORDER

Pursuant to a scheduling hearing held on March 8, 2023, the Court now sets the following

dates and deadlines for further proceedings in this case:

April 10, 2023 . Deadline for Defendant to file Bruen motion.
April 24, 2023 Deadline for Government’s response to Defendant’s
Bruen motion.
May 1, 2023 Deadline for Defendant’s reply.
May 19, 2023, 10:00 a.m. Motions Hearing, Courtroom 5A. Defendant must be
present.
May 8, 2023 Jencks disclosure.
_ May 15, 2023 Deadline for filing motions in limine.
May 15, 2023 Deadline for receipt in chambers of proposed voir dire,

proposed preliminary jury instructions (start of trial),
proposed final jury instructions (end of trial), and a
proposed jury verdict form; these are to be filed
electronically and must also be submitted via e-mail in
Microsoft Word format. - to chambers:
MDD_JKBChambers@mdd.uscourts.gov.

Government and defense counsel shall meet and confer
with respect to proposed voir dire, jury instructions,
and a verdict form, and to the fullest extent possible
make joint submissions. Counsel shall identify any
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matters of disagreement through supplemental filings.
The most recent revision of the undersigned’s standard
jury instructions in criminal cases is available to the
parties upon request to chambers. :

May 17, 2023 Deadline for responses to motions in limine.

May 31, 2023, 10 a.m. Pretrial Conference, Courtroom 5A. Defendant must
be present.

June 12, 2023, 9:30 a.m. Begin Jury Trial, Courtroom 5A. Scheduled to

conclude on June 23, 2023.

Counsel shall appear in court at 9:15 a.m. on the first
day of trial to address miscellaneous matters with the
courtroom deputy clerk prior to the commencement of
jury selection.

The Government is directed to prepare notices and “come up” letters as appropriate for the
in-court proceedings. The Government is also directed to file a motion to exclude time pursuant
to the Speedy Trial Act. No changes in the schedule set forth above will be permitted unless
authorized by the Court for good cause shown. Any such requests, either stipulated or ex parte,

must be made by motion and filed with the Clerk.
DATED this 6 day of March, 2023

BY THE COURT:

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James K. Bredar
Chief Judge

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